ease 6:14-cv-06562-DGL-l\/lv\/P D ooooooo 43 Filed 11/29(1#( tag {<§61

 

4 NO_V 2997 `

 

 

 

 

 

 

 

 

t CaSe 6214-CV-06562-DGL-|\/|WP D OOOOOOO 43 Filed 11/29/17 Page 2 Of 5

 

 

 

 

 

 

 

 

 

 

 

  
      

&/@WQ¢ MM a QZ: _____ d

[/q:,g [/' / ,~éé,_______,
.-, ,' ,o/ ¢, , maid __ , l : ’/1. ’ ',__,__#,_,__
. , /

 

 

 

 

\}‘;"'
!_< w

 

 

 

K%M 

/7?:?0/7:;
%L
My %
  @Y;%%/;;z    
m”‘%%
` '%WM£§

% ?MM%

 

 

 

